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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                            CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                        2nd MMM Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                                 Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Martha Lucia Norena                                  JOINT DEBTOR:                                        CASE NO.:       15-24588-RBR
 Last Four Digits of SS#                   xxx-xx-5637                    Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $          1,251.05   for months           1      to        3       ;
           B.       $          1,436.46   for months           4      to        5       ;
           C.       $           1,450.12 for months            6      to        15      ;
           D.       $           1,299.80 for months            16     to       60       ;in order to pay the following creditors:
 Administrative: Attorney's Fee - $ 3,500 + MMM 2100 Total 5,600                    TOTAL PAID $ 3,550.00
                     Balance Due        $ 2,050.00               payable $ 136.66                /month (Months         1    to    15 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 1. Roundpoint Mtg                                                   Arrearage on Petition Date $ 0.00
                5032 Parkway
                Plaza Blvd;
                Charlotte, NC
    Address:    28217                                                   Arrears Payment $                   0.00 /month (Months 0 to 0 )
                Account No:
    Account No: xxxxxxxxx6083                                            LMM Payment $                  1,000.66 /month (Months 1 to 60 )
      Broward County Records, Taxes &
 2. Treasury                                                         Arrearage on Petition Date $ 682.69
                            Attn: Bankruptcy
                            Section
                            115 S. Andrews Ave
                            A-100
                            Ft Lauderdale, FL
      Address:              33301                                       Arrears Payment $                   12.42 /month (Months 6 to 60
                  Account No:
      Account No: xxxxxxxx0730
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate         Plan Payments Months of Payment    Total Plan Payments

 -NONE-                                          $                                           %          $                          To
Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                      Regular Payment $
Unsecured Creditors: Pay $ 168.55 /month (Months 4 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
The debtor has filed a Verified Motion for Referral to MMM with Roundpoint (“Lender”), loan number 1000396083, for real
property located at 921 N 17 Court, Hollywood, Florida 33020. The parties shall timely comply with all
requirements of the Order of Referral to LMM and all Administrative Orders/Local Rules regarding LMM.
While the LMM is pending and until the trial/interim payment plan or the permanent mortgage
modification/permanent payment is established by the parties, the Debtor has included a post-petition
plan payment, absent Court order to the contrary, of no less than 31% of the Debtor’s gross monthly
income as a good faith adequate protection payment to the Lender. All payments shall be considered
timely upon receipt by the trustee and not upon receipt by the Lender.
Until the LMM is completed and the Final Report of Loss Mitigation Mediator is filed, any objection to
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the Lender’s Proof of Claim on the real property described above shall be held in abeyance as to the
regular payment and mortgage arrearage stated in the Proof of Claim only. The Debtor shall assert any
and all other objections to the Proof of Claim prior to confirmation of the plan or modified plan.
If the Debtor, co-obligor/co-borrower or other third party (if applicable) and the Lender agree to a
settlement as a result of the pending LMM, the Debtor will file a Motion to Approve Loss Mitigation
Agreement with Lender no later than 14 calendar days following settlement. Once the settlement is
approved by the Court, the Debtor shall immediately amend or modify the plan to reflect the settlement
and the Lender shall amend its Proof of Claim to reflect the settlement, as applicable.
If a settlement is reached after the plan is confirmed, the Debtor will file a motion to modify the plan no
later than 30 calendar days following approval of the settlement by the Court and the Lender shall have
leave to amend its Proof of Claim to reflect the settlement reached after confirmation of the plan. The
parties will then timely comply with any and all requirements necessary to complete the settlement. In
the event the Debtor receives any financial benefit from the Lender as part of any agreement, the
Debtor shall immediately disclose the financial benefit to the Court and the trustee and amend or
modify the plan accordingly.
If the Lender and the Debtor fail to reach a settlement, then no later than 14 calendar days after the
Mediator’s Final Report is filed, the Debtor will amend or modify the plan to (a) conform to the Lender’s
Proof of Claim (if the Lender has filed a Proof of Claim) or (b) provide that the real property will be
surrendered. If the amended or modified plan provides that the real property is to be surrendered, then
the obligations to the Lender will be considered “treated outside the plan” and the Lender shall have in
rem relief from the automatic stay as to the real property being surrendered. Notwithstanding the
foregoing, Lender may file a motion to confirm that the automatic stay is not in effect as to the real
property.
Confirmation of the plan will be without prejudice to the assertion of any rights the Lender has to
address payment of its Proof of Claim.


 /s/ Martha Lucia Norena
 Martha Lucia Norena
 Debtor
 Date: January 18, 2016




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